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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
       v.                                 ) CASE NO. 2:18-CR-117-WKW
                                          )             [WO]
CEDRIC ANTONIO BENNETT                    )

                                     ORDER

      Defendant has filed a pro se motion for compassionate release in which he

seeks to modify an imposed term of imprisonment pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Doc. # 60.) Defendant was convicted of being a felon in

possession of a firearm, in violation of 18 U.S.C. § 922(g)(1), and was sentenced to

sixty-eight months’ imprisonment. (Doc. # 57.)

      Upon a thorough review of the record, the court concludes that Defendant’s

motion is due to be denied for the reasons set out in the Government’s response and

based upon a balancing of the 18 U.S.C. § 3553(a) factors.            (Doc. # 71.)

Accordingly, it is ORDERED that Defendant’s motion for compassionate release

(Doc. # 60) is DENIED.

      It is further ORDERED that Defendant’s motion for appointment of counsel

(Doc. # 60) is DENIED.

      DONE this 23rd day of September, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
